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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

NURTURING DIRECT HOMECARE INC.,
COMPLAINT
Plaintiff,

-against-
Case No. 1:23-cv-4331
ERC SPECIALISTS, LLC,

Defendant.

The Plaintiff, NURTURING DIRECT HOMECARE INC., by its attorneys Malvina Lin, P.C.
complaining of the Defendant respectfully shows and alleges upon information and belief as
follows:

THE PARTIES

1. At all relevant times the Plaintiff NURTURING DIRECT HOMECARE, INC.
(“Nurturing”) is a duly formed New York Domestic Corporation authorized to conduct
business in the State of New York on June 13, 2016.

2. The principal place of business of Nurturing is at 87 West End Avenue, Brooklyn, New
York 11235.

3. Atall relevant times Nurturing conducts business in the State of New York as a home
health care agency.

4, Atall relevant times and upon information and belief, the Defendant ERC
SPECIALISTS, LLC (“ERC”) is a duly formed Utah Limited Liability Company

authorized to conduct business on May 12, 2021.
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5. Upon information and belief, the principal place of business for ERC is 560 E.
Timpanogos Circle, Orem, Utah 84097.

6. Upon information and belief, at all relevant times ERC holds itself out as providing
services in connection with the filing and receiving tax credits that may be available to
companies under the Coronavirus Aid, Relief, and Economic Security Act (“CARES
Act’).

JURISDICTION AND VENUE

7. Pursuant to 28 U.S.C. § 1332, this Court has original jurisdiction over this action because
the action is between citizens of different states and the amount in controversy exceeds
$75,000.00 exclusive of interest and costs.

8. Pursuant to 28 U.S.C. § 1391, venue lies in the Eastern District of New York based upon
the fact that it is the judicial district within which a substantial part of the events giving
rise to the Plaintiffs claims occurred.

STATEMENT OF FACTS

9. Atall relevant times ERC marketed its services and solicited customers throughout the
State of New York.

10. ERC through its authorized representative and agent, Jan Marie Ferriola, appeared at the
annual Home Care Providers Conference that occurred at the Hilton Pearl River Hotel
located in Pearl River, New York on October 18-20, 2022 for the primary purpose of
marketing the services of ERC to New York companies.

11. Marvin Pishchik attended the aforementioned conference on his own initiative and at his
own expense independent of his duties and relationship with Nurturing.

12. At all relevant times Nurturing has only two owners of the company.
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Jeff Paperman is an owner and President of Nurturing and Yury Grobshteyn is an owner
and Vice President of Nurturing.

Upon information and belief, an individual named Marvin Pishchik acted as an
independent consultant to Nurturing due to his education and experience in the health
care industry.

Upon information and belief, Marvin Pishchik provides consultation and engages
regularly in several businesses related to home care agencies and/or the health care
industry.

At no time was Marvin Pishchik ever an employee, officer, representative or agent of
Nurturing.

At all relevant times Marvin Pishchik provided consultation services to Nurturing that
were limited to advising generally on issues related to the health care industry and
advising on human resources and coordination of employees.

At no time did Marvin Pishchik hold a position as an officer or an executive with
Nurturing.

At all relevant times Marvin Pishchik was not authorized to bind Nurturing or enter into
any contracts on behalf of Nurturing.

At all relevant times Marvin Pishchik did not have a power of attorney to act on behalf of
Nurturing.

At all relevant times Marvin Pishchik did not have a power of attorney to act on behalf of
the owner and President of Nurturing, Jeff Paperman.

At all relevant times Marvin Pishchik did not have a power of attorney to act on behalf of

the owner and Vice President of Nurturing, Yury Grobshteyn.
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At all relevant times Marvin Pishchik was not authorized to engage any tax or legal
professionals on behalf of Nurturing.

Upon information and belief, ERC did solicit Marvin Pishchik and convince him to
communicate and engage with ERC through email for the purpose of offering their
services to Nurturing and other companies with which Pishchik had a relationship in the
healthcare industry.

Upon information and belief, Marvin Pishchik had access to the payroll records and other
tax documents of Nurturing by virtue of his relationship as an independent contractor of
Nurturing.

At all relevant times, Marvin Pishchik did not have authority to share or disseminate any
financial or tax related information or documents to any party outside of Nurturing.
Despite the absence of authority and permission, it appears that, upon information and
belief, Marvin Pishchik engaged in communications with representatives of ERC.
Subsequent to such communications and on or about April 10, 2023, the Internal
Revenue Service sent a notice to Nurturing that in sum and substance Nurturing will be
receiving a credit in the amount of $1,154,679.41 with regard to June 30, 2021 payroll
taxes.

Nurturing did in fact receive a check from the Internal Revenue Service dated April 11,
2023 which was deposited in a Nurturing account and which will continue to be held
until further notice and without prejudice.

Subsequent to such communications and on or about May 1, 2023, the Internal Revenue
Service sent a notice to Nurturing that in sum and substance Nurturing will be receiving a

credit in the amount of $1,242,291.61 with regard to March 31, 2021 payroll taxes.
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Nurturing did in fact receive a check from the Internal Revenue Service dated May 2,
2023 which was deposited in a Nurturing account and which will continue to be held
until further notice and without prejudice.

Subsequent to such communications and on or about May 22, 2023, the Internal Revenue
Service sent a notice to Nurturing that in sum and substance Nurturing will be receiving a
credit in the amount of $1,339,972.57 with regard to September 30, 2021 payroll taxes.
Nurturing did in fact receive a check from the Internal Revenue Service dated May 23,
2023 which was deposited in a Nurturing account and which will continue to be held
until further notice and without prejudice.

The owners/officers of Nurturing were unaware of the basis for this credit when it was
received and had not taken any affirmative action to request or obtain this credit.

Upon inquiry of all individuals connected to Nurturing by the Vice President Yury
Grobshteyn, the consultant Marvin Pishchik admitted that he had taken unilateral action
to obtain such credits on behalf of Nurturing.

Upon information and belief, Marvin Pishchik admitted to the Vice President that ERC
had been provided certain documents and information.

Upon information and belief, Marvin Pishchik admitted that he typed the electronic
signature of Yury Grobshteyn on a document that purports to be a contract for ERC
services as well as on an Internal Revenue Service Form 8821, Tax Information
Authorization.

Yury Grobshteyn did not agree, authorize or ratify such actions that were taken by

Marvin Pishchik.
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39. After being confronted by Yury Grobshteyn, Marvin Pishchik provided Yury Grobshteyn
with copies of emails and correspondence exchanged with ERC.

40. One of the documents that Marvin Pishchik provided was a purported contract dated
February 16, 2023.

41. Yury Grobshteyn never interacted verbally or in writing with ERC or its authorized
representative Jan Marie Ferriola.

42. Ms. Ferriola communicated directly with Marvin Pishchik at his email address of
marvin@asthomecare.com and addressed “Marvin.”

43. Upon information and belief, Marvin Pishchik was promised and intended to collect a
referral fee of an unknown amount from ERC due in connection with customers that
Marvin Pishchik recommends to ERC.

44. As aresult, Marvin Pishchik had an economic incentive to facilitate a transaction
between ERC and Nurturing even in the absence of authority and authorization from
Nurturing.

45. Yury Grobshteyn never reviewed the February 16, 2023 document, never received this
document by electronic means or otherwise directly to him, and never signed this
document.

46. The February 16, 2023 document contains terms and conditions that Yury Grobshteyn
would never have agreed to on behalf of Nurturing.

47. Upon learning of the aforementioned unauthorized actions, Nurturing promptly
repudiated the document in writing by written correspondence on or about April 18, 2023
to ERC and demanded copies of all documents that ERC had submitted to the Internal

Revenue Service on behalf of Nurturing.
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48. To date, ERC has failed to provide such documents to Nurturing.

49. Neither Marvin Pishchik nor ERC are professional accountants, CPAs or tax preparers.

50. Nurturing would never have authorized anyone other than a professional tax preparer
with whom they are familiar and/or who has been thoroughly vetted and investigated to
request credits on behalf of Nurturing from the Internal Revenue Service.

51. Upon information and belief, the amount of credits that Nurturing has received and may
continue to receive carries with it the risk of audit review and exposure.

52. Upon information and belief, the fees charged and other general terms of the purported
agreement with ERC are unreasonable and Nurturing would never had agreed to such
terms had someone with authority been given the opportunity to review the proposed
agreement in advance.

53. Nurturing should have been entitled to evaluate all of the potential risks and benefits of
obtaining an employee retention credit including the terms and conditions of any service
provider that assisted with such activity prior to the submission of requests on their behalf
to the Internal Revenue Service.

54. Subsequent to Nurturing discovering the unauthorized actions of Marvin Pishchik, it was
requested that he forward all of his correspondence with ERC and its representative to
Yury Grobshteyn.

55. Marvin Pishchik did in fact forward several email correspondence, and Yury Grobshteyn
received access to his email address and had been regularly accessing it for relevant
correspondence.

56. On or about May 12, 2023 and May 25, 2023 ERC emailed an invoice for their services

demanding the amount of $540,552.87.
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FIRST CLAIM FOR RELIEF

57. By virtue of the fact that the signature on the purported contract with ERC was forged
and unauthorized, said contract is void ab initio.

58. At all relevant times, ERC through its authorized representative Jan Marie Ferriola was
aware that Marvin Pishchik was not authorized to execute contracts on behalf of
Nurturing.

59. Due to that knowledge, ERC requested that Marvin Pishchik execute all documents as if
he were an authorized signatory when in fact such execution constituted a forgery.

60. A contract that is forged is void ab initio.

61. As a result of the foregoing, Plaintiff Nurturing is entitled to a declaration that the
purported contract with ERC is void.

62. As a result of the foregoing, Plaintiff Nurturing is entitled to a declaration that any
amounts demanded by invoice or otherwise by ERC pursuant to such void contract, to
wit, the sum demanded at present being $540,552.87, is null and void and that no
amounts are due to ERC from Nurturing.

SECOND CLAIM FOR RELIEF

63. ERC was not authorized to submit any documents or records or make any requests to the
Internal Revenue Service on behalf of Nurturing.

64. As a result of the foregoing, Nurturing will incur fees and expenses at a minimum for the
purpose of investigating and retaining the services of professionals to review the

purported credits received.
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65. Despite due demand in writing, ERC has failed to provide Nurturing duplicate copies of
all documents and correspondence that were submitted on behalf of Nurturing without
their knowledge or authorization.

66. Nurturing is entitled to a declaration ordering ERC to provide all such documents.

67. In addition, as a result of the foregoing, Nurturing is entitled to a judgment for a sum to
be more particularly determined at the time of trial but in excess of the jurisdictional
limits of this Court representing the costs and expenses of mitigating any damages caused
by ERC’s unauthorized actions, including but not limited to attorney’s fees, court costs,
professional accounting costs, and the costs of any fees or penalties incurred as a result of

the credits having been issued by the Internal Revenue Service.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:
A) A judgment on the First Claim for Relief in favor of Plaintiff Nurturing Direct Homecare
Inc. and against Defendant ERC Specialists, LLC declaring that the purported agreement dated
February 16, 2023 or any other document between the parties be declared void ab initio and that
Plaintiff be declared not liable for payment of any invoices to Defendant, including but not
limited to an invoice in the amount of $540,552.87 together with an award of all costs and
disbursements related to this action;
B) A judgment on the Second Claim for Relief in favor of Plaintiff Nurturing Direct
Homecare Inc. and against Defendant ERC Specialists, LLC declaring that Defendant shall turn
over any and all documents received in connection with their unauthorized activity on behalf of

Plaintiff and any and all documents submitted to the Internal Revenue Service or any other party
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purportedly acting on behalf of Plaintiff together with an award of all costs and disbursements
related to this action;

C) A judgment on the Second Claim for Relief in favor of Plaintiff Nurturing Direct
Homecare Inc. and against Defendant ERC Specialists, LLC in an amount to be more
particularly demonstrated at the time of trial but in excess of the jurisdictional limits of this Court
representing the costs and expenses of mitigating any damages caused by ERC’s unauthorized
actions, including but not limited to attorney’s fees, court costs, professional accounting costs,
and the costs of any fees or penalties incurred as a result of the credits having been issued by the
Internal Revenue Service; and

D) Such other and further relief as this Court may deem necessary, just and proper.

Dated: June 13, 2023
Brooklyn, New York

Respectfully submitted,
MALVINA LIN, P.C.

Malvina Lin, Esq.

1203 Avenue J, Suite 4B
Brooklyn, New York 11230
Tel: (718) 377-3500

Fax: (718) 377-4174
malvina@malvinalaw.com

Attorneys for Plaintiff
Nurturing Direct Homecare Inc.
